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7                        IN THE UNITED STATES DISTRICT COURT

8                                  DISTRICT OF ARIZONA
9
     Ronald H. Pratte,                               Case No.: 2:19-cv-00239-PHX-GMS
10
                  Plaintiff,
11
                                                     ORDER GRANTING CONTINUANCE;
12   vs.
                                                     VACATING SCHEDULING
13                                                   DEADLINES; and ORDERING A
     Jeffrey Bardwell and Fanny F. Bardwell,
                                                     JOINT STATUS REPORT BE FILED
14
     husband and wife,
                                                     IN 30 DAYS
15                Defendants.

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19         Upon review of the Defendants’ Motion to Continue Fact Discovery for 60-days

20   and to vacate all other case deadlines and for good cause shown,
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           IT IS HEREBY ORDERED granting Defendants’ Motion to Continue Fact
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23
     Discovery and Vacate Other Scheduling Deadlines for a period of sixty (60) days.

24         IT IS FURTHER ORDERED the Parties shall file a Joint Status Report and
25
     proposed scheduling dates on or before April ____, 2020.
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